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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

In re: VIOXX®                              *                 MDL Docket No. 1657
                                           *
PRODUCTS LIABILITY LITIGATION              *                 SECTION L
                                           *
This document relates to:                  *                 JUDGE FALLON
Joan M. Petty v. Merck Corporation, et al. *
(E.D. La. Index No. CA-07-3724-L)          *                 MAG. JUDGE KNOWLES
                                           *
*****************************

               DEFENDANT MERCK & CO., INC.’S MOTION TO
      DISMISS COMPLAINT AND INCORPORATED MEMORANDUM OF LAW

       Defendant, Merck & Co., Inc. (“Merck”), incorrectly named herein as Merck Corporation,

moves pursuant to Federal Rules of Civil Procedure 12(b)(6) and 9(b) to dismiss Plaintiff Joan M.

Petty’s (“Ms. Petty” or “plaintiff”) complaint, in which Ms. Petty purports to state a claim under

the Racketeer Influenced and Corrupt Organizations Act (“RICO”). In support, Merck states:

I.     INTRODUCTION

       Approximately seventeen months ago, Ms. Petty, through counsel, filed a personal injury

complaint in federal court alleging that she suffered physical and emotional injuries as a result of

ingesting the prescription medicine Vioxx® (“Vioxx”) and that she has suffered “economic loss”

as a result. See Joan M. Petty v. Merck & Co., Inc., Case No. 06-14041-Civ-Graham/Lynch

(S.D. Fla.), ¶¶ 37, 43, 51 (attached as Exhibit “A”). Ms. Petty’s personal injury complaint

includes two product liability counts (defective design and failure to warn) and a breach of

express warranty claim, based on allegations that Vioxx was not reasonably suitable for its

intended purpose (Ex. A ¶ 32) and that Merck “failed to provide[] adequate warnings to medical

providers, the FDA and the consuming public” (Ex. A ¶ 42).




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       Now—a year and a half later—Ms. Petty has attempted to recast the same facts and

injuries alleged in her personal injury complaint in a second RICO action. That attempt fails.

Even accepting her allegations as true and making all reasonable inferences in her favor, Ms.

Petty’s complaint must be dismissed with prejudice for at least four reasons.

       First, Ms. Petty lacks statutory standing to sue under RICO because she does not plead

and cannot show any injury to her “business or property” as required by the statute. Second, Ms.

Petty fails to allege any facts establishing the existence of an enterprise other than defendant

Merck, and thus cannot overcome RICO’s requirement that the “person” who allegedly violates

section 1962(c) must be distinct from the “enterprise” whose affairs that person allegedly

conducts. Third, Ms. Petty fails to allege facts sufficient to state a claim for the alleged predicate

acts committed by Merck. Finally, if the Court determines that the Complaint states a RICO

claim – which it clearly does not – Ms. Petty’s RICO action should be dismissed because she has

impermissibly split her claims.

II.    APPLICABLE LEGAL STANDARD

       The Federal Rules of Civil Procedure require a plaintiff to provide “a short and plain

statement of the claim” that “will give the defendant fair notice of what the plaintiff’s claim is

and the grounds upon which it rests.” Conley v. Gibson, 355 U.S. 41, 47 (1957) (quoting Fed. R.

Civ. P. 8(a)(2)). However, as the Supreme Court recently made clear, “a plaintiff’s obligation to

provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and conclusions,

and a formulaic recitation of the elements of a cause of action will not do.” Bell Atlantic Corp.

v. Twombly, __ U.S. __, 127 S.Ct. 1955, 1964-65 (2007); see also, e.g., Bill Buck Chevrolet, Inc.

v. GTE Florida, Inc., 54 F. Supp. 2d 1127, 1131 (M.D. Fla. 1999) (To survive a motion to

dismiss, “a plaintiff may not merely ‘label’ claims.”). Rather, a plaintiff must plead facts that, if

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proved, would satisfy the elements of a claim. These “[f]actual allegations must be enough to

raise a right to relief above the speculative level.” Twombly. 127 S.Ct. at 1965. A “statement of

facts that merely creates a suspicion [of] a legally cognizable right of action” will not suffice. Id.

(quoting 5 C. Wright & A. Miller, Federal Practice and Procedure § 1216, pp. 235-36 (3d ed.

2004)). Moreover, claims filed under RICO “must be subjected to scrutiny due to their potential

for abuse by civil litigants.” Bill Buck Chevrolet, 54 F. Supp. 2d at 1131 (internal citation

omitted). As discussed below, Ms. Petty’s complaint fails to satisfy these standards in numerous

respects.

III.   MS. PETTY’S COMPLAINT MUST BE DISMISSED WITH PREJUDICE
       BECAUSE SHE LACKS STANDING TO BRING A RICO CLAIM.

       Under the plain terms of the RICO statute, civil plaintiffs have standing to sue only if

they have (1) been injured in their “business or property” (2) “by reason of” the conduct

constituting the RICO violation. Avirgan, 932 F.2d at 1577; see 18 U.S.C. § 1964(c) (“Section

1964”) (“[a]ny person injured in his business or property by reason of a violation of section 1962

of this chapter may sue therefore in any appropriate United States district court”); Price v.

Pinnacle Brands, 138 F.3d 602, 606 (5th Cir. 1998) (“a RICO plaintiff must satisfy two elements

– injury and causation”). Ms. Petty’s RICO claim fails as a matter of law because she did not

suffer an injury to her “business or property” as required by the statute, and her complaint

therefore should be dismissed.

       It is settled law that claims of personal injury (including claims of economic loss

resulting from such injury) do not constitute injury to “business or property” under RICO. See,

e.g., Greg Joseph, Civil RICO: A Definitive Guide at 30 (2d ed. 2000); cf. Summit Properties

Inc. v. Hoechst Celanese Corp., 214 F.3d 556, 562 (5th Cir. 2000) (noting that text of RICO does


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not evidence an intent to federalize or escalate state products liability laws); see also Price, 138

F.3d at 607 n.20 (“it is undisputed that, to the extent that plaintiffs claim they were injured

through a gambling habit or addiction, they do not have standing under § 1964(c), as there is no

recovery under RICO for personal injuries”) (emphasis added); Hughes v. Tobacco Inst., Inc.,

278 F.3d 417, 422 (5th Cir. 2001) (affirming dismissal of plaintiffs’ RICO claim because “the

only damages asserted by the Plaintiffs are for personal injuries”).

       In Grogan v. Platt, 835 F.2d 844, 846-47 (11th Cir. 1988), for example, the court

squarely held that plaintiffs “cannot recover under RICO for those pecuniary losses that are most

properly understood as part of a personal injury claim.” Grogan involved civil RICO claims

brought by several FBI agents (or their heirs) who had been injured or killed by the defendant in

a gun battle. Id. at 845. The agents argued that persons who are killed or injured by RICO

predicate acts suffer real economic consequences as a result, and that these economic

consequences constitute an “injury to property” sufficient to support standing under RICO. Id. at

846. The Eleventh Circuit disagreed. Noting that Congress had intended RICO to be a “flexible

tool in fighting organized crime,” the court noted that civil plaintiffs, “attracted by RICO’s

provision for treble damages and attorney’s fees,” had developed numerous ways to “use[] this

flexibility to their advantage.” Id. “However,” the court continued,

               some limits on civil RICO still exist, for only recoverable damages
               will flow from the commission of the predicate acts. RICO
               provides that “[a] person injured in his business or property by
               reason of a violation of section 1962 of this chapter may sue
               therefor.” The words “business or property” are, in part, words of
               limitation . . . . In our view, the ordinary meaning of the phrase
               “injured in his business or property” excludes personal injuries,
               including the pecuniary losses therefrom.




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Id. at 846-47 (third emphasis added). Pecuniary losses such as loss of earnings, loss of

consortium, loss of guidance, mental anguish, and pain and suffering were, in the court’s view,

“so fundamentally a part of personal injuries that they should be considered something other than

injury to ‘business and property.’” Id. at 847. The court therefore affirmed the dismissal of the

plaintiff’s complaint for failure to state an injury to business or property. Id.

        This case is on all fours with Price, Hughes and Grogan. Ms. Petty unequivocally admits

that her purported damages stem from an alleged personal injury, alleging: “I received a life

threatening injury from taking the drug Vioxx for 5 years.” (Compl. at p. 5). She further asserts

that, to prove her claims, she will rely on “evidence and medical records.” (Compl. at p. 5)

(emphasis added).1 Because Ms. Petty’s putative RICO action is based squarely on claims of

personal injury and related damages, Grogan compels the conclusion that she lacks standing to

sue under RICO. And because this is not a defect that can be corrected by amending her

complaint, her claims must be dismissed with prejudice. Conley, 355 U.S. at 455; see also

Foman v. Davis, 371 U.S. 178, 182 (1962) (court need not provide leave to amend where

amendment would be futile).

        Notably, the one other federal court to face a RICO claim based on alleged Vioxx use

dismissed the case on similar grounds. In Judith Lehr v. Merck & Co., Inc., Case No. 01-cv-

0516-MJR (S.D. Ill. Jan. 6, 2003), for example, the plaintiff alleged that Merck violated RICO

by “‘conduct[ing] an enterprise through a pattern of mail, wire, radio and TV fraud to induce

[Lehr] to purchase VIOXX® at exorbitant prices in violation of the Mail Fraud Act.’” Id. at 3

(Lehr Order, attached hereto as Ex. B). The plaintiff claimed that she suffered a property loss or


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          She also makes the cryptic allegation that “MERCK at al has taken from the Plaintiff Joan M. Petty over a
million dollars plus her life.” (Compl. at 4.) This is presumably a reference to her alleged injury and the alleged
costs of treatment for this injury.

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a compromised or diminished value by purchasing a product that failed to provide the safety or

efficacy of comparable medications. Id. at 4. The Lehr court concluded that the “diminished

value” theory did not constitute an injury to business or property and therefore the plaintiff

lacked standing to bring a RICO claim. Id. (citing Maio v. Aetna, Inc., 221 F.3d 472, 483 (3d

Cir. 2000)). Because Ms. Petty did not and cannot plead injury to her business or property, this

Court should reach the same conclusion and dismiss her complaint for lack of standing.

IV.      THE COMPLAINT MUST BE DISMISSED BECAUSE IT FAILS TO ALLEGE
         AN “ENTERPRISE” DISTINCT FROM THE DEFENDANT.

         Even if Ms. Petty had standing, her complaint would still have to be dismissed because

she has not adequately alleged an enterprise distinct from the defendant. Although plaintiff’s

complaint does not specify which subsection of RICO she intends to invoke, the complaint can

only be plausibly read as invoking subsection 1962(c), which provides that “[i]t shall be

unlawful for any person employed by or associated with any enterprise . . . to conduct or

participate . . . in the conduct of such enterprise’s affairs through a pattern of racketeering

activity.” 18 U.S.C. § 1962(c); see Compl. at 2 (alleging that defendant “operated and managed

the RICO enterprise and conducted the pattern of racketeering”).2

         As numerous courts have recognized, this statutory language clearly envisions a

relationship between a “person” who engages in racketeering activity and a separate “enterprise”

whose affairs that person conducts. See, e.g., St. Paul Mercury Ins. Co. v. Williamson, 224 F.3d

425, 445 (5th Cir. 2000). Thus, section 1962(c) requires that the “person” who engages in the
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         The remaining subsections prohibit investing income derived, directly or indirectly, from a pattern of
racketeering activity or through collection of an unlawful debt in any enterprise which affects interstate commerce,
see 18 U.S.C. § 1962(a); acquiring or maintaining an interest in any enterprise which affects interstate commerce
through a pattern of racketeering activity or through collection of an unlawful debt, see 18 U.S.C. § 1962(b); or
conspiring to violate any of the other subsections of section 1962, see 18 U.S.C. § 1962(d). Ms. Petty does not
allege that Merck “invested” any income derived from a pattern of racketeering under subsection 1962(a), or that
Merck “acquired an interest in an enterprise” through racketeering under subsection 1962(b), or that Merck
“conspired to” commit a RICO violation under 1962(d).

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pattern of racketeering activity be an entity distinct from the enterprise when the entity is a

corporation. St. Paul Mercury Ins. Co., 224 F.3d at 445 (“Like the overwhelming majority of

our sister circuits, we have held that subsection (c) requires that the RICO person be distinct

from the RICO enterprise.”); see also Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158,

162 (2001) (collecting cases from 12 circuits courts of appeal and noting that “liability depends

on showing that the defendants conducted or participated in the conduct of the ‘enterprise’s

affairs,’ not just their own affairs”); Jaguar Cars, Inc. v. Royal Oaks Motor Car Co., 46 F.3d 258,

265, 268 (3d Cir. 1995) (holding that “a corporation would be liable under section 1962(c) only

if it engages in racketeering activity as a ‘person’ in another distinct ‘enterprise’”).

       Courts have also recognized that the distinct identity requirement “would be eviscerated

if a plaintiff could successfully plead that the enterprise consists of a defendant corporation in

association with employees, agents, or affiliated entities acting on its behalf.” Brittingham v.

Mobil Corp., 943 F.2d 297, 301-02 (3d Cir. 1991) (“Without allegations or evidence that the

defendant corporation had a role in the racketeering activity that was distinct from the

undertaking of those acting on its behalf, the distinctiveness requirement is not satisfied.”);

Parker & Parsley Petroleum v. Dresser Indus., 972 F.2d 580, 583-584 (5th Cir. 1992) (plaintiff

may not simply allege that corporate defendant and its employees constitute the enterprise); Old-

Time Enters. v. Inter’l Coffee Corp., 862 F.2d 1213 (5th Cir. 1989) (same); Riverwoods

Chappaqua v. Marine Midland Bank, 30 F.3d 339, 344-45 (2d Cir. 1994) (distinctness

requirement may not be circumvented by alleging an enterprise that consists merely of a

corporate defendant associated with its own employees or agents carrying on the regular affairs

of the corporation); Odishelidze v. Aetna Life & Cas. Co., 853 F.2d 21, 23-24 (1st Cir. 1988)

(same); Yellow Bus Lines, Inc. v. Local Union, 639, 883 F.2d 132, 139-141 (D.C. Cir. 1989),

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adopted on reh’g, 913 F.2d 948, 951 (D.C. Cir. 1990) (en banc) (an organization cannot join

with its own members to do that which it normally does and thereby form an enterprise separate

and apart from itself; allowing plaintiffs to generate such contrived enterprises would render the

non-identity requirements of section 1962(c) meaningless); Jaguar Cars, 46 F.3d at 265 (because

corporations are “by definition passive instruments” that can act only through their officers and

employees, “it is not apparent how a corporation could ever play a role in the racketeering

activity distinct from its officers and employees”).

       For example, in Parker & Parsley Petroleum, the plaintiff petroleum company hired the

defendant service company to fracture many of its oil wells. 972 F.2d at 582. The plaintiff

alleged that the defendant used less sand and gel than it had agreed to, resulting in the extraction

of less oil. Id. Plaintiff sued, claiming a number of state law violations as well as violation of

the federal RICO statute. In seeking to satisfy RICO’s “enterprise” requirement, plaintiff alleged

that there were three “enterprises” involved for RICO purposes: an association-in-fact composed

of the field employee who carried out the alleged “shortchanging”; each respective corporate

defendant, as the servicing entity; and a corporate partnership, as the servicing entity. Id. at 583.

The district court dismissed the case, and the Fifth Circuit affirmed.

       Regarding the unit of field employees, the court found that these employees either “had

no existence as an entity separate and apart from the actual pattern of racketeering” or were

merely “the defendant corporate entity functioning through its employees in the course of their

employment” and “neither of these can constitute a RICO enterprise.” Id. As for the corporation

and/or partnership, the court found that “the corporate partners in the servicing entity, or

alternatively, [the partnership], committed the predicate acts, if such acts may be attributed to

them, in the course of their regular business” and therefore did not constitute RICO entities. Id.

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at 584. “Because a corporation cannot be both the enterprise and the RICO perpetrator,” the

court concluded, “this association cannot be a RICO enterprise.” Id.

       The same is true here. Ms. Petty’s allegations fail to meet the distinct identity

requirement. In her complaint, Ms. Petty contends that “MERCK Corporation engages in a

pattern of racketeering activity through local entities and association in fact enterprise consisting

exclusively of its officers and or employees such as their shareholders, officers directors or

employees.” (Compl. at p. 2) (emphasis added). These allegations fail to satisfy the distinct

identity requirement because Merck cannot “associate with” or “be employed by” itself, see U.S.

v. Goldin, 219 F.3d 1268, 1271 (11th Cir. 2000) (expressly adopting distinct identity

requirement), and, as discussed above, Ms. Petty cannot overcome this problem by alleging that

Merck and its employees constitute the enterprise. See Parker & Parsley Petroleum, 972 F.2d at

583-84 (plaintiff may not simply allege corporate defendant and its employees constitute

enterprise).

       Elsewhere in her complaint, Ms. Petty alleges that Merck “deals with its dealers and other

agents.” (Compl. at p. 2.) This vague allegation cannot save her claim because it does not

identify who the other participants are or how they are involved in the alleged entity. Under

well-established law, “plaintiffs must plead specific facts, not mere conclusory allegations,

which establish the enterprise.” Montesano v. Seafirst Commercial Corp., 818 F.2d 423, 427

(5th Cir. 1987); see also Bill Buck Chevrolet, 54 F. Supp. 2d at 1135 (quoting Richmond. v.

Nationwide Cassel L.P., 52 F.3d 640 (7th Cir. 1995)). Indeed, allegations so vague that they do

“not identify the other participants in the alleged enterprise fail[] to satisfy the notice requirement

of Federal Rule of Civil Procedure 8.” Id.



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       In Bill Buck Chevrolet, for example, the plaintiff instituted a RICO complaint against a

telephone service provider alleging that fraudulent charges had been “crammed” into billing

statements. Id. at 1129. The Middle District of Florida noted that:

               Plaintiff’s complaint identifies the other members of the alleged
               enterprise only in vague terms. While it refers to them as “service
               providers” and “bill aggregators,” it never identifies any particular
               service provider or bill aggregator as having a business
               relationship with Defendant, much less as having engaged in
               “cramming” in the context of that business relationship. The
               presence of an enterprise is an essential element of a RICO
               complaint; merely identifying the type of business in which the
               members of the alleged enterprise engage is not enough either to
               allow the Court to evaluate whether the alleged enterprise
               constitutes an enterprise within the meaning of RICO, or to
               provide Defendant fair notice of the claim against which it must
               defend.

Id. (emphasis added).

       Similarly here, Ms. Petty does not identify any particular “dealer” or “agent” of Merck,

let alone their roles in the context of racketeering. Indeed, Ms. Petty does not even identify the

type of business in which the members of the alleged enterprise engage. The complaint is thus

devoid of any factual allegations that might reasonably suggest the existence of an enterprise, an

essential element of a RICO claim. For this reason too, Ms. Petty’s complaint must be dismissed.

V.     THE COMPLAINT MUST BE DISMISSED BECAUSE IT FAILS ADEQUATELY
       TO ALLEGE PREDICATE ACT VIOLATIONS.

       Ms. Petty’s allegations regarding the predicate acts of racketeering are also patently

insufficient to support a RICO cause of action. One alleged predicate act – fraud – is not a RICO

predicate act at all, and none of the three alleged predicate acts satisfy the pleading requirements

set forth in the Fed. R. Civ. P. 8 and 9(b).




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         As noted above, to state a claim under Section 1962(c), a plaintiff must allege that the

defendant participates in the conduct of an enterprise “through a pattern of racketeering activity.”

18 U.S.C. § 1962(c). The acts comprising the racketeering activity are commonly known as

“predicate acts.” Dennis v. General Imaging, Inc., 918 F.2d 496, 511 (5th Cir. 1990). Although

the complaint is unclear, plaintiff appears to allege that Merck engaged in three predicate acts:

murder, money laundering, and common-law fraud. See Compl. at 4 (alleging that “MERCK

enterprise organization were sufficiently related in the acts of murder and money laundering”);

Compl. at 3 (alleging that a “related pattern of criminal activity exists when MERCK et al

defrauded the public and the FDA Knowingly [sic] and willingly held back evidence that the

drug Vioxx was causing damage and life threatening injury to persons using the drug”).

         Initially, the allegation that Merck committed common-law fraud must be disregarded,

because common-law fraud is not a defined predicate act that can support a RICO claim.3

Humphrey v. United Parcel Service Co., Case No. 05-20283-Civ-Jordan, 2005 U.S. Dist. LEXIS

38827, at *4-5 (S.D. Fla. May 20, 2005) (claim not actionable under RICO because the alleged

conduct does not fall within any of the predicate criminal acts listed in 18 U.S.C. § 1961(1) and

therefore cannot be considered ‘racketeering activity’”). Even if plaintiff’s complaint could be

construed as alleging mail or wire fraud, it does not allege a single fact to support the allegation


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          18 U.S.C. § 1961 provides an exhaustive list of the acts that constitute “racketeering” under RICO. The
list , which covers a wide range of federal and state crimes, including the following: any act or threat involving
murder, kidnapping, gambling, arson, robbery, bribery, extortion, dealing in obscene matter, or dealing in a
controlled substance or listed chemical, 18 U.S.C. § 1961(1)(A); bribery, counterfeiting, mail fraud, wire fraud,
financial institution fraud, obstruction of justice, tampering with or retaliating against a witness, victim, or informant,
money laundering, sexual exploitation of children, interstate transportation of stolen motor vehicles or stolen
property, or trafficking in contraband cigarettes, 19 U.S.C. § 1961(1)(B); improper payments or loans to unions or
embezzlement from union funds, 19 U.S.C. § 1961(1)(C); fraud in the sale of securities, or the felonious
manufacture, importation, receiving, concealment, buying, selling, or otherwise dealing in a controlled substance, 19
U.S.C. § 1961(1)(D); any act which is indictable under the Currency and Foreign Transactions Reporting Act, 19
U.S.C. § 1961(1)(E); or any act which is indictable under the Immigration and Nationality Act, if the act was
committed for the purpose of financial gain, 19 U.S.C. § 1961(1)(F).

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that Merck committed any of the three alleged predicate acts, or plead fraud with the particularity

required by Rule 9(b) of the Federal Rules of Civil Procedure.

         As discussed supra, the Supreme Court has recently clarified that to satisfy the pleading

requirements of Fed. R. Civ. P. 8, a plaintiff’s “[f]actual allegations must be enough to raise a

right to relief above the speculative level.” Twombly, 127 S.Ct. at 1965; see also, e.g., Bill Buck

Chevrolet, Inc. v. GTE Florida, Inc., 54 F. Supp. 2d 1127, 1131 (M.D. Fla. 1999) (To survive a

motion to dismiss, “a plaintiff may not merely ‘label’ claims.”). Thus, a plaintiff must plead

facts that, if proved, would satisfy the elements of a claim.4

         Ms. Petty’s complaint fails to meet these pleading standards with respect to its claims for

murder and money laundering. It fails to allege a single fact to support the assertion that Merck

engaged in either act, instead offering only the conclusory statement that Merck was involved in

purported predicate acts of murder and money laundering. Indeed, Ms. Petty does not even

allege the elements of either crime under the applicable state or federal law. See McCulloch v.

PNC Bank Inc., 298 F.3d 1217 (11th Cir. 2001) (affirming dismissal of RICO complaint on

ground that plaintiff failed to identify elements of underlying cause of action). Having failed to

identify a single fact or allege the elements of the predicate acts, Ms. Petty’s complaint falls far

short of the standard required to state a cause of action under RICO.

         The complaint’s fraud allegations – even if they can be construed as claims of mail fraud

– are similarly deficient, and manifestly fail to meet the heightened Rule 9(b) pleading standards

applicable to claims of fraud. See Tel-Phonic Services, Inc. v. TBS Int’l, Inc., 975 1134, 1138


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          Ms. Petty also failed to submit a RICO Case Statement as required by Local Rule 12.1 of the Southern
District of Florida. Under Local Rule 12.1, a plaintiff must file a detailed statement of the facts giving rise to the
alleged RICO claim within 30 days of filing the complaint. Ms. Petty’s counsel made his appearance before the
expiration of the RICO Case Statement deadline, failed to file the required RICO Case Statement, and failed to
request an extension of time within which to do so.

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(5th Cir. 1992) (Rule 9(b) “particularity requirement applies to the pleading of fraud as a

predicate act in a RICO claim”). Rule 9(b) provides that “in all averments of fraud or mistake,

the circumstances constituting fraud or mistake shall be stated with particularity.” Pleading

fraud with particularity is necessary in order to provide defendants with sufficient notice of the

acts of which the plaintiff complains to enable them to frame a response, prevent fishing

expeditions to uncover unknown moral wrongs, and protect defendants from unfounded

accusations of immoral and otherwise wrongful conduct. Bill Buck Chevrolet, 54 F. Supp. 2d at

1135-36 (citing CR Credit Corp. v. Reptron Electronics, Inc., 155 F.R.D. 690, 692 (M.D. Fla.

1994)).

          In the Fifth Circuit, pleading fraud with particularity requires “time, place, and contents

of the false representations, as well as the identity of the person making the misrepresentation

and what [that person] obtained thereby.” Williams v. WMX Techs., 112 F.3d 175, 177 (5th Cir.

1997). In Williams, plaintiffs were buyers of securities alleging that the seller of the securities

had committed RICO violations based on various underlying actions grounded in fraud (mail and

wire fraud, state law fraud, negligent misrepresentation, and 10b-5 misrepresentation). The court

dismissed the suit because plaintiffs did not plead their RICO action with the requisite

particularity required by the Federal Rules. Id. at 180. According to the court, “articulating the

elements of fraud with particularity requires a plaintiff to specify the statements contended to be

fraudulent, identify the speaker, state when and where the statements were made, and explain

why the statements were fraudulent.” Id. at 177. Applying that standard to plaintiffs’ pleading,

the court found that the complaint failed to state a “place or time” where alleged false

representations were made, did not explain which statements in a prospectus plaintiffs



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considered false, and did not explain why the newspaper articles attached to the complaint were

false and misleading. Id. at 178-179.

       Here, Ms. Petty’s allegations are so scant that Merck cannot decipher what she believes

to be the alleged fraud and cannot determine whether the alleged conduct would constitute

racketeering under RICO. Like the plaintiff in Williams, Ms. Petty fails to satisfy even the

relaxed pleading standard. She does not adequately plead the contents of the alleged fraudulent

misrepresentation, who made the statements, or where these putative statements were made.

Accordingly, her allegations fall far short of the requirements for pleading a predicate act.

VI.    MS. PETTY’S COMPLAINT MUST BE DISMISSED BECAUSE SHE HAS
       IMPROPERLY SPLIT HER CLAIMS.

       As the above discussion demonstrates, plaintiff’s complaint falls far short of stating a

valid claim for a RICO violation because she lacks standing to bring a RICO claim, she has not

properly alleged an enterprise, and she has not alleged any cognizable predicate acts with the

particularity required under the Federal Rules. However, even if this Court should decide that

plaintiff has stated an adequate RICO claim – which she has not – it should at a minimum

dismiss plaintiff’s claim because she has improperly split her claims in multiple forums. See

Hayes v. Solomon, 597 F.2d 958, 982 (5th Cir. 1979) (“in accordance with public policy,

partially to conserve the courts’ time but probably in the main to prevent the hardship upon a

defendant of unnecessary piecemeal litigation, a single cause of action cannot be split so as to be

properly made the subject of different actions”); Fleming v. Travenol Laboratories, Inc., 707

F.2d 829, 834 (5th Cir. 1983) (affirming grant of summary judgment where “there [could] be no

doubt, under the facts of [the] case, that at the time that [plaintiff] filed her EEOC charge and

received her right-to-sue letter, she could simply have amended her pending discrimination


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complaint and argued the Title VII allegations in that suit”). As the court in Fleming asserted,

“when one has a choice of more than one remedy for a given wrong . . . he or she may not assert

them serially, in successive actions, but must advance all at once on pain of bar.” Id.

        Here, the allegations in Ms. Petty’s RICO complaint consist entirely of the damages she

suffered purportedly as a result of ingesting Vioxx and Merck’s alleged failure to warn

adequately of risks associated with Vioxx. See, e.g., Compl. at 3-5 (“I received a life threatening

injury from taking the drug Vioxx for 5 years. . . . Furthermore, I can prove all the alleged

statements with evidence and medical records.”). This is entirely the same set of operative facts

as her failure-to-warn claim, also pending in this proceeding. Joan M. Petty v. Merck & Co. Inc.,

Case No. 06-1699 (M.D.L. 1657). It is clear that these claims arise out of the same substantial

facts. Substantially similar – if not identical – evidence and witnesses will be used to support Ms.

Petty’s allegations as well as Merck’s defenses. Therefore, this Court should dismiss plaintiff’s

RICO action, or at the very least require that she join her two claims arising out of the same

transaction.

VII.    CONCLUSION

        For these reasons set forth above, Ms. Petty’s RICO complaint must be dismissed.

Merck respectfully requests the entry of an order dismissing Ms. Petty’s complaint with

prejudice.




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 Dated: August 9, 2007.                      Respectfully submitted,


                                             /s/ Dorothy H. Wimberly
                                             Phillip A. Wittmann, 13625
                                             Dorothy H. Wimberly, 18509
                                             Carmelite M. Bertaut, 3054
                                             STONE PIGMAN WALTHER WITTMANN
                                             L.L.C.
                                             546 Carondelet Street
                                             New Orleans, Louisiana 70130
                                             Phone: 504-581-3200
                                             Fax: 504-581-3361

                                             Defendants’ Liaison Counsel


                                             Patricia E. Lowry
                                             Barbara Bolton Litten
                                             Maria Jose Moncada
                                             Squire, Sanders & Dempsey L.L.P.
                                             1900 Phillips Point West
                                             777 South Flagler Drive
                                             West Palm Beach, FL 33401-6198
                                             Phone: 561-650-7200
                                             Fax: 561-655-1509

                                             Attorneys for Defendant Merck & Co.




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                                 CERTIFICATE OF SERVICE

                I hereby certify that the above and foregoing Stipulation of Dismissal Without

Prejudice has been served on Liaison Counsel, Russ Herman and Phillip Wittmann, by U.S. Mail

and e-mail or by hand delivery and e-mail and upon all parties by electronically uploading the

same to LexisNexis File & Serve Advanced in accordance with Pre-Trial Order No. 8B, and that

the foregoing was electronically filed with the Clerk of Court of the United States District Court

for the Eastern District of Louisiana by using the CM/ECF system which will send a Notice of

Electronic Filing in accord with the procedures established in MDL 1657, on this 9th day of

August, 2007.


                                                     /s/ Dorothy H. Wimberly
                                                     Dorothy H. Wimberly, 18509
                                                     STONE PIGMAN WALTHER
                                                     WITTMANN L.L.C.
                                                     546 Carondelet Street
                                                     New Orleans, Louisiana 70130
                                                     Phone: 504-581-3200
                                                     Fax:    504-581-3361
                                                     dwimberly@stonepigman.com

                                                     Defendants’ Liaison Counsel




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